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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                        X
  TZVI WEISS, et al.,

                               Plaintiffs,                     Case No. 05-CV-4622 (DLI) (RIL)

                 - against -

  NATIONAL WESTMINSTER BANK PLC,

                               Defendant.


  NATAN APPLEBAUM, et al.,

                               Plaintiffs,

                 - against -
                                                               Case No. 07-CV-916 (DLI) (RIL)
  NATIONAL WESTMINSTER BANK PLC,

                               Defendant.                      Oral Argument Requested

                                                        X



    REPLY MEMORANDUM OF LAW OF DEFENDANT NATIONAL WESTMINSTER
   BANK PLC IN FURTHER SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT




                                             CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                             One Liberty Plaza
                                             New York, New York 10006
                                             (212) 225-2000

                                             Attorneys for Defendant National Westminster Bank Plc



  May 23, 2018
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                                              INTRODUCTIONI

          In Linde v. Arab Bank, PLC, 882 F.3d 314 (2d Cir. 2018), the Second Circuit held that a

  bank's knowing provision of material support for an FTO in violation of 18 U.S.C. § 2339В is

  insufficient to prove that the bank engaged in an "act of international terrorism" for purposes of

  the type of civil claim plaintiffs are making here under the ATA, id. §§ 2333(a), 2331(1).

  Instead, as National Westminster Bank Plc ("NatWest") has shown, Linde requires plaintiffs to

  separately prove that the bank's conduct also (a) involved violence or danger to human life and

  (b) was apparently intended to intimidate or coerce the Israeli civilian population or government.

  882 F.3d at 326. Plaintiffs' opposition brief struggles mightily to avoid Linde's holding and

  relies on inadmissible and irrelevant evidence in a strained attempt to satisfy Liede's

  requirements. But plaintiffs have no admissible evidence on which a reasonable juror could find

  for them on either prong. That plaintiffs do not even purport to cite any such evidence in their

  brief speaks volumes as to why NatWest is entitled to summary judgment.

          Plaintiffs' attempt to avoid summary judgment by relying on a dismissed aiding and

  abetting claim does not change this result. First, JASTA's enactment did not change the legal

  underpinnings of Judge Sifton's 2006 dismissal of that claim. Plaintiffs' argument that they can

  present an equivalent claim 12 years later without a new pleading, based on a one-sentence

  description they unilaterally inserted in the Joint Pre-Trial Order, attempts an improper end-run

  around both the law-of-the-case doctrine and Rule 15. Second, even if plaintiffs had properly

  pled an aiding and abetting claim, there still would be no triable issue because the evidence does

  not allow a reasonable juror to find either that NatWest was aware of its purported role in

  Hamas's violent or dangerous activities, or that NatWest substantially assisted lamas in carrying

   All capitalized terms not otherwise defined in this reply have the meaning given to them in the Mem. of Law of
  Def. National Westminster Bank Plc in Supp. of its Mot. for Summ. J., dated April 11, 2018 ("NW Br."). Plaintiffs'
  lem. of Law in opp. to Defs' Mot. for summ. J., dated May 8, 2018, is cited as "Pl. Br."
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  out the attacks, both of which Linde requires. Plaintiffs do not even purport to cite evidence to

  the contrary.

  I.     THE COURT SHOULD GRANT NAT WEST SUMMARY JUDGMENT

         A.       After Linde, Plaintiffs Must Present Admissible Evidence Connecting
                  NatWest To Hamas's Violent Activities And That NatWest Acted With
                  Apparent Terroristic Intent

         1. To present a triable issue ou the "iuteruatioual terrorism" element, plaintiffs cannot

  merely rely ou а violation of 2339В. Plaintiffs concede that Linde rejected their theory that a

  bank's knowing provision of financial services to an FTO in violation of § 2339В necessarily

  constitutes an "act of international terrorism." Pl. Br. 2. In the same breath, however, plaintiffs

  argue that, under Linde, "whether knowingly providing banking services for a notorious terrorist

  group" (in other words, a violation of § 2339В) also satisfies the "international terrorism"

  element always is "a question for the jury." Id. at 2, 3. In other words, plaintiffs argue that

  § 2339В and the "international terrorism" element are coextensive—so that a genuine dispute as

  to one necessarily creates a genuine dispute as to the other. Linde held precisely the opposite.

  See 882 F.3d at 326 (" [I]t was incorrect to instruct the jury that a finding that Arab Bank

  provided material support to Hamas in violation of § 2339(B) was alone sufficient to prove the

  bank's own commission of an act of international terrorism under § 2333(a)."). It explicitly

  requires plaintiffs to prove more than knowledge by NatWest that it was providing financial

  services to Hamas in violation of § 2339B. See id. ("providing financial services to a known

  terrorist organization" does not, without more, "involve violence or endanger life" or "manifest

  the apparent intent required by § 2331(1)(B)").

         Plaintiffs ' argument that they can satisfy the "act of international terrorism" element

  based solely on evidence that NatWest knowingly processed wire transfers to charities controlled

  by Hamas, P1. Br. 10, ignores Liпde's result: Linde vacated the jury verdict against Arab Bank


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  because the Court of Appeals concluded that evidence concerning transfers to or for the same

  charities, including evidence of the bank's knowledge of the charities' connections to lamas,

  was insufficient to sustain the verdict as a matter of law. 882 F.3d at 327.2 If the Court had

  deemed those facts sufficient to support ATA liability, it would have found the district court's

  failure to instruct on the violence and apparent terroristic intent prongs to be harmless and

  affirmed. See id. at 328.3

             2. The violence or dangerousness prопg. Linde requires that, in order to present a triable

  issue that NatWest's conduct "involve[d] violent acts or acts dangerous to human life," 18 U.S.C.

  § 2331(1)(A), plaintiffs must present evidence that NatWest 's financial "services themselves"

  were closely connected to Hamas's violent or dangerous activities, see NW Br. б; Lіnde, 882

  F.3d at 328. In Lіnde, unlike here, there was evidence from which a jury could have so found,

  including records showing that Arab Bank provided banking services for "known lamas leaders

  and operatives," and processed wire transfers that "were explicitly identified as payments for

  suicide bombings." See NW Br. 18-19; Lіnde, 882 F.3d at 321, 330; Linde v. Arab Bank, PLC,

  97 F. Supp. 3d 287, 304 (E.D.N.Y. 2015). Plaintiffs' argument that Lіnde did not "enunciate"

  that these particular facts are "criteria" that must be met in all cases, Pl. Br. 9, is a straw man.

  Liпde held that there must be some evidence tying the defendant's conduct itself to violent or

  dangerous acts, and not just to a terrorist organization, which is all that plaintiffs have presented



  2   See Linde, 882 F.3d at 329 ("From the charge given and the verdict returned, we can also assume that the jury
  found Arab Bank to have provided material support in the form of financial services to what it knew was a
  designated terrorist organization."); id. at 330 (noting jury also necessarily found "Arab Bank's provision of
  financial services to lamas was a `substantial and identifiable cause of the injury that plaintiffs claim"); id. at 321
  (noting evidence of Arab Bank 's financial services included its processing transfers "totaling approximately
  $32,000,000"on behalf of Hamas charities).
  ' The Court of Appeals did not reverse and instruct the district court to enter judgment for Arab Bank, because there
  was additional evidence in that case on which a properly instructed jury could find that Arab Bank's conduct
  satisfied the violence and apparent terroristic intent prongs. Id. at 327. As plaintiffs do not dispute, there is no such
  evidence in this case. NW Br. 19-20.



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  here. See 882 F.3d at 326.

           Plaintiffs also argue that the word "involve" in § 23 31(1)(А) incorporates the fungibility

  principle that this Court and others relied on pre-Linde to rule that FTOs "are so tainted by their

  criminal conduct that any contribution to such an organization facilitates that conduct." Pl. Br.

  8-9. But this fungibility principle applies to § 2339B, not to the violence prong of § 2331(1).

  See Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132, § 301(a)(7),

  110 Stat. 1214, 1247 (1996), note following 18 U.S.C. § 2339В; Holder v. Humanitarian Law

  Project, 561 U.S. 1 (2010) (construing § 2339В). Linde specifically rejected plaintiffs' reliance

  on § 2339B's fungibility principle to show that providing financial services to a terrorist

  organization involves violence or danger to life for purposes of § 2331(1). See 882 F.3d at 326.

  Otherwise, a violation of § 2339В would suffice to support a civil claim.

           3. Evidence required to satisfy the terroristic intent prong. In order to avoid summary

  judgment, plaintiffs also must present evidence that NatWest's conduct "appear[s] to [have been]

  intended to intimidate or coerce [the Israeli] civilian population" or government. See id. at 327;

  NW Br. 7-9. Plaintiffs attempt to elide this requirement, first by arguing that it is an objective

  one, and so NatWest's "subjective state of mind" is irrelevant, Pl. Br. 11-12,4 and, second, just

  the opposite, that this prong is satisfied by evidence that NatWest subjectively knew it was

  providing financial services to charities that were controlled by Hamas, id. at 12. Both

  arguments are wrong. Under Linde, this prong requires plaintiffs to prove that an objective

  observer would conclude that NatWest's intent in acting as it did was to intimidate or coerce the


  a Plaintiffs rely on dicta in Weiss v. National Westminster Bank PLC, 768 F.3d 202, 207 n.6 (2d Cir. 2014), that this
  prong "does not depend on the actor's beliefs." That does not mean that evidence of NatWest's subjective state of
  mind is irrelevant. It is common for "objective" standards to turn, in part, on the defendant 's subjective state of
  mind. See, e.g., Bieluch v. Sullivan, 999 F.2d 666, 672 (2d Cir. 1993) ("Although the qualified immunity defense
  turns on an objective test, rather than [defendant]'s subjective intent, this does not bar an examination of the facts
  known to [defendant] at the time.").



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  Israeli civilian population or government. While some acts may unambiguously demonstrate the

  requisite intent     for example, any reasonable observer would conclude that perpetrating a

  suicide bombing evinces such intent, without inquiring into the suicide bomber's subjective state

  of mind—that is not true of the banking services that NatWest provided to Interpal. See Linde,

  882 F.3d at 326. Therefore, plaintiffs cannot sustain their burden of proof on this prong without

  presenting evidence of NatWest's subjective state of mind that an objective observer would

  deem to exhibit such terroristic intent.5 But plaintiffs have cited no such evidence. In Liпde,

  evidence that Arab Bank knowingly processed payments that were explicitly identified as being

  for suicide bombings, and that the bank endorsed Hamas's terrorism, sufficed to create a triable

  issue on this prong. See NW Br. 18-19. The fact that Arab Bank knowingly provided financial

  services to Hamas—which is all that plaintiffs could possibly prove about NatWest                      did not.

           B.      There Is No Triable Issue As To Whether NatWest Committed An "Act Of
                   International Terrorism"

           1. There is пo admissible evidence to satisfy the violence or daпgerоusпess prong.

  NatWest's conduct consisted only of making wire transfers on behalf of its charity customer

  Interpal to other charities for expressly non-violent purposes. See NW Br. 9-11; NW Supp. 56.1

  Stmt. ¶ 7-8. Moreover, plaintiffs and their experts have explicitly conceded that there is no

  evidence that NatWest's wire transfers were connected to any violent or dangerous acts, much

  less that NatWest knowingly participated in any attacks. See NW Br. 11-13. Plaintiffs devote

  pages of their opposition brief to wrestling unsuccessfully with Liпde's straightforward holding

  that the phrase "involve violent acts or acts dangerous to human life" means what it says, but

  they conspicuously devote little more than a page to describing the evidence that they rely on as



  s Plaintiffs themselves demonstrate this point by arguing repeatedly that NatWest's banking services were not
  "routine" because NatWest purportedly knew it was providing material support to Hamas. See,    e.g., Pl. Br. 6-7.




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   creating a triable issue on that prong. See Pl. Br. 10-11. That evidence is insufficient as a matter

   of law.

             First, that evidence would, at most, demonstrate that the conduct of other entities and

   persons involved violence or danger to life, contrary to Liede's requirement that plaintiffs prove

   the defendant's financial "services themselves" satisfy this prong. 882 F.3d at 328. For example,

   plaintiffs point to evidence, Pl. Br. 10-11, that the 13 Charities: (a) were "instrumental in

   organizing and distributing payments to families of suicide bombers and other terrorists," relying

   on testimony from the Arab Bank case that is inadmissible here, and ignoring their own experts'

   concessions that they are aware of no evidence that connects these charities to the attacks at issue,

   see   NW Br. 12-13; (b) "recruited lamas operatives to commit terrorist attacks," ignoring their

   experts' concession that they have no such evidence with respect to the attacks at issue, see id.;

   (c) were controlled by leaders of Hamas, ignoring that their own experts conceded to the contrary,

   see   Pis.' Resp. to NW 2011 56.1 Stmt. ¶¶ 330, 333; and (d) were "integral to Hamas's structure

   and operational capacity," a statement for which plaintiffs provide no support. Critically,

   plaintiffs do not, nor could they contend that any of this evidence relates to the wire transfers

   processed by NatWest, or was known to NatWest at the time.

             The only evidence plaintiffs cite that has any even tangential connection to NatWest's

   conduct is insufficient to raise a triable issue.

             •      First, plaintiffs cite to a 1996 news article asserting that Interpal "provided
                    support to families of Hamas guerillas and suicide bombers." Pl. Br. 22-23;
                    Schlanger Dec!. Ex. 5. This is obviously inadmissible hearsay, and was expressly
                    rejected when investigated by the UK Charity Commission. Weiss v. Nat'l
                    Westminster Bank PLC, 936 F. Supp. 2d 100, 105-06 (E.D.N.Y. 2013) (discussing
                    1996 Charity Commission investigation).

             •      Second, plaintiffs cite OFAC's statement when it designated Interpal as an SDGT
                    in August 2003 that Interpal was "the fundraising coordinator of Hamas." Pl. Br.
                    10. This at best would show no more than a violation of § 2339B by providing



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                    support to an FTO. See Weiss, 768 F.3d at 211. Nothing in OFAC's designation
                    states that Interpal had any involvement with—let alone that the banking services
                    NatWest provided to Interpal involved—Hamas's terrorist activities, and a
                    contrary view would necessarily depend on the fungibility principle that Linde
                    rejected.

           •        Third, plaintiffs assert that the Union of Good, which was designated as an SDGT
                    in 2008, was a "direct customer" of the Bank in 2001-2003, five years earlier. Pl.
                    Br. 22, 25. That is simply false,6 and would in any case, as with Interpal, at most
                    show a violation of § 2339B, which plaintiffs cannot parlay into a triable issue of
                    violence or dangerousness without the rejected fungibility principle.?

           2. There is iio admissible evidence to satisfy the apparent terroristic intent prong.

   NatWest has shown that no reasonable juror could find that NatWest's provision of financial

   services to Interpal exhibited the requisite apparent terroristic intent. The undisputed evidence is

   that NatWest did not share—and was fiercely opposed to—Hamas's goals of intimidating or

   coercing the Israeli civilian population or government. NW Br. 13-16. Plaintiffs' argument that

   it is "law of the case" that a jury could find that NatWest "knowingly provided material support

   to Hamas," Pl. Br. 12, is a red herring. At most, that could establish only a violation of § 2339B,

   which, under Linde, does not present a triable issue on the apparent terroristic intent requirement.

           Lacking any evidence of NatWest's apparent terroristic intent, plaintiffs rely heavily on

   irrelevant and inadmissible settlement agreements that NatWest's affiliates                 not NatWest

  itself   entered into with U.S. authorities concerning violations of U.S. sanctions against Sudan,

   Cuba, Burma and Iran. Pl. Br. 1, 13-15. Those settlements have nothing to do with this case.

  They do not concern the banking services that NatWest provided to Interpal, they do not concern

  any violations of the ATA or any terror financing, and NatWest's affiliates did not admit to




   Plaintiffs cite only a June 20, 2001 letter from Interpal to NatWest, requesting that NatWest open a US dollar sub-
  account using the name I'tilafu al-Khayr (Union for Good).

   Plaintiffs further vaguely assert that NatWest knew about the Union of Good's "continuing criminal enterprise," P1.
  Br. 24, but have submitted no evidence to support that assertion.


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   financing any terrorists. The settlements also are inadmissible as hearsay and under Federal

   Rules of Evidence 408, 410 and 404(b). See NatWest MIL D.11.

            Plaintiffs ' argument that these settlements show that NatWest engaged in "systematic and

   calculated evasion of U.S. sanctions," Pl. Br. 1, is thus another rhetorical red herring: it does not

   present a triable issue that NatWest's wire transfers exhibit the apparent terroristic intent to

   coerce the Israeli civilian population or government. Likewise, plaintiffs' unsupported

   speculation that relevant NatWest personnel were implicated in the conduct underlying these

   settlements, P1. Br. 13, neither impeaches nor contradicts their testimony in this case, to which

   the settlements are irrelevant.

   II.     PLAINTIFFS HAVE NOT PLEADED AN AIDING AND ABETTING CLAIM,
           AND EVEN IF THEY HAD, NATWEST WOULD BE ENTITLED TO SUMMARY
           JUDGMENT

           A.        Plaintiffs ' Attempt To Add A New Aiding And Abetting Claim Fails

           Plaintiffs disclaim reliance on the only aiding and abetting claim they have ever pled

   which Judge Sifton dismissed in 2006—and argue that JASTA constituted an intervening change

   in controlling law that entitles them to assert a "different" claim for "statutory" aiding and

   abetting. Pl. Br. 4. But Judge Sifton expressly assumed the availability of the type of secondary

   liability claim for which JASTA provides, and he dismissed the claim on the merits for failure to

   plead the substantial assistance element that JASTA reaffirms.$ See Weiss v. Nat'l Westminster

   Bank PLC, 453 F. Supp. 2d 609, 621-22 (E.D.N.Y. 2006). Unlike in Linde, JASTA therefore

   provides no reason to disturb the law of the case here.

           Recognizing this, plaintiffs argue that the prefatory text of JASTA, which states that

   Halberstan v. Welch, 705 F.2d 472 (D.C. Cir. 1983), provides the "proper legal framework" for

  вBy contrast, Linde held that JASTA constituted an intervening change in controlling law because the claim in that
  case had been dismissed on the ground that there is no aiding and abetting liability under the ATA. See 882 F.3d at
  320; P1, Br. 16.



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   secondary liability, constitutes an intervening change in controlling law. P1. Br. 19. But the

   Halberstam "framework" is materially identical to the New York common law that Judge Sifton

   applied.9 JASTA's reference to Halberstam did not change the substantive aiding and abetting

   standard that plaintiffs failed to meet.

            Plaintiffs' argument that discovery revealed evidence unavailable to Judge Sifton when

   he dismissed this claim, Pl. Br. 4, also fails. Judge Sifton assumed all of plaintiffs' allegations to

   be true including that NatWest knew it was providing material support to charities controlled

   by Hamas, which is the most plaintiffs claim they can prove after discovery. In any event, the

   claim remains dismissed, and plaintiffs' short description of such a claim in the JPTO, over

   NatWest's objection and without the Court 's consent, does not resurrect it. Id. 4, 16 & n.18.10

            B.       No Reasonable Juror Could Find NatWest Liable For Aiding And Abetting

            Even if an aiding and abetting claim remained in this case, NatWest would be entitled to

   summary judgment because no reasonable juror could find for plaintiffs on either of the general

   awareness or substantial assistance elements. First, under Linde, plaintiffs must prove that

   NatWest was "generally aware" that it was "playing a `role' in Hamas's violent or life-

   endangering activities," not merely that it was providing support to lamas. 882 F.3d at 329

   (emphasis added).11 The Second Circuit found that evidence that Arab Bank knew it was


     Halberstam simply adopted the Restatement (Second) of Torts § 876(b) (1979) (the "Restatement"), see
   Halberstam, 705 F.2d at 477-78, as have New York courts, see Johnson v. Nextel Commc'ns, Inc., 660 F.зd 131,
   142 (2d Cir. 2011), including Judge Sifton in these cases, Strauss v. Credit Lyonnais, S.A., No. CV-06-0702 (CPS),
   2006 WL 2862704, at *9 (E.D.N.Y. Oct. 5, 2006). The ATA aiding and abetting precedent on which Judge Siftоn
   relied, In re Terrorist Attacks on September 11, 2001, 349 F. supp. 2d 765 (s.D.N.Y. 2005), did in fact evaluate the
   aiding and abetting claims under the Halberstam framework, id. at 798-800. The fact that Judge sifton did not list
   the factors does not mean he did not consider them. To the extent plaintiffs argue that Judge Sifton applied those
   factors incorrectly, they cannot seek reconsideration 12 years later.
   10 See Missigman v. USI Ne., Inc., 131 F. supp. 2d495, 517-18 (s.D.N.Y. 2001) ("Courts routinely refuse to allow
   parties to raise additional claims ... in the pretrial order after the completion of discovery.").
     This standard does not require proof of NatWest's knowledge of "the specific attacks at issue," but it does require
  proof that NatWest knew it was "assuming a `role in" Hamas's violent "terrorist activities," i.e., that it was playing
  a role in Hamas's terrorist attacks generally. Id. Contrary to plaintiffs' argument that scienter may not be resolved


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   transferring "payments for suicide bombings" raised an issue of fact on this element, id. at 330,

   but plaintiffs have no similar evidence here, see NW Br. 13-lб; supra at 4-5, 7-8. Plaintiffs do

   not dispute this as a factual matter, but instead seek to elide Liпde's holding by arguing, in

   reliance on Halberstam and the Second Circuit's discussion of § 2339В in Weiss (which had

   nothing to do with aiding and abetting), that the general awareness element is satisfied if

   NatWest was generally aware of its role in Interpal's soliciting of funds for Hamas-controlled

   charities. See Pl. Br. 5, 23-25. Linde expressly rejected this argument. 882 F.3d at 329-30.

          Second, plaintiffs also cannot show that NatWest substantially assisted lamas in

   perpetrating terrorist attacks. Plaintiffs' strained attempt to analogize this case to Halberstam, a

   case involving a two-person burglary enterprise in which the defendant was both the girlfriend

   and "willing partner" of the primary wrongdoer, 705 F.2d at 486, fails. See Uпgar v. Islamic

   Republic oflran, 211 F. Supp. 2d 91, 99 (D.D.C. 2002) (distinguishing Halberstam). Further,

   plaintiffs' attempt to contort the Halberstam factors in their favor by focusing on NatWest's

   relationship with Iпtеrpаl rather than NatWest's nonexistent relationship with lamas, see Pl. Br.

   21-23, ignores that this claim requires plaintiffs to prove that NatWest "knowingly and

  substantially assist[ed] the principal vиolatиon," Linde, 882 F.3d at 329 (emphasis added)            here,

  the terrorist attacks allegedly were perpetrated by Hamas.

                                               CONCLUSION

          The Court should grant NatWest's motion for summary judgment.




  on summary judgment, rulings resolving scienter disputes on summary judgment where no reasonable juror could
  find for the non-moving party are legion. See, e.g., Bryant v. S. Country Cent. Sch. Dist., No. 2:14-cv-5621
  (DRH)(ARL), 2017 WL 1216553, at *6 (E.D.N.Y. Mar. 31, 2017); Steed Fin. LDC v. Nomura Sec. Int'l Inc., 148 F.
  App'x 66, 69 (2d Cir. 2005).



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   Dated: May 23, 2018


                                  Respectfully submitted,

                                  CLEARY GOTTLIEB STEEN & HAMILTON LLP



                                  By:
                                        Jonathan L Blackman
                                        Lawrence B. Friedman

                                  One Liberty Plaza
                                  New York, New York 10006
                                  (212) 225-2000

                                  Attorneys for Defendant National Westminster Bank Plc




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